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                                 BEFORE THE UNITED STATES
                        JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


       IN RE: ROUNDUP PRODUCTS                                              MDL No. 2741
       LIABILITY LITIGATION



           MONSANTO COMPANY’S NOTICE OF POTENTIAL TAG-ALONG ACTIONS

                                     SCHEDULE OF ACTIONS


               Plaintiff            Defendant          District       Civil Action No.       Judge
1.   Otilia Mosqueda               Monsanto Co.   Northern District   1:20-cv-02921      District Judge
                                                  of Illinois                            Edmond E.
                                                  (Chicago)                              Chang
2.   Sondra Poling, Individually   Monsanto Co.   Southern District   3:20-cv-00189-     District Judge
     and as Administrator of the                  of Ohio (Dayton)    DRC                Douglas R. Cole
     Estate of James L. Poling
3.   John Webb, Jr.                Monsanto Co.   Eastern District of 2:20-cv-00032-     Chief District
                                                  North Carolina      BO                 Judge Terrence
                                                  (Northern                              W. Boyle
                                                  Division)




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